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 IT IS ORDERED as set forth below:



 Date: May 15, 2018
                                                 _____________________________________
                                                             James R. Sacca
                                                       U.S. Bankruptcy Court Judge

 _______________________________________________________________

                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
  IN RE:                       )                     CASE NO.: 18-55820-JRS
                               )
  TIFFANY DAWN WINCHESTER FORD )
                               )                     CHAPTER 13
            Debtor.            )


                         ORDER AND NOTICE OF HEARING


           On May 14, 2018, Debtor filed a Motion for Emergency Hearing (Doc. No. 17),

  seeking an emergency hearing on Debtor’s Motion to Reconsider Dismissal and Reinstate

  Case in Full Force and Effect (Doc. No. 16). For good cause shown, it is hereby

           ORDERED that Debtors’ Motion for Emergency Hearing is GRANTED. A

  hearing on Debtor’s Motion to Reconsider Dismissal and Reinstate Case in Full Force

  and Effect (Doc. No. 16) will be held May 16, 2018, at 9:30 A.M. in Courtroom 1404,

  United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. Debtor’s

  counsel is directed to serve this Order and Notice OF Hearing by e-mail, facsimile, or
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  over-night mail on the Chapter 13 Trustee and all creditors and shall file a certificate

  evidencing such service before 5:00 P.M. today.

                                 END OF DOCUMENT



  Prepared by:

   /s/______________
  Howard Slomka
  Georgia Bar # 652875
  Slipakoff and Slomka, P.C.
  Attorney for Debtors
  2859 Paces Ferry Road, SE,
  Suite 1700
  Atlanta, GA 30339
  Tel. 404-800-4001
